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                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF IDAHO

VERNON K. SMITH,                                )
                                                )
                        Plaintiff,              )   Case No. CIV 06-317-S-EJL
        vs.                                     )
                                                )   JUDGMENT
GARDEN CITY, IDAHO, a political                 )
subdivision of the State of Idaho; JIM          )
BENSLEY, individually and in his capacity as )
Chief of Police of Garden City, Idaho;          )
ANGELA LYTHGOE, individually and in her )
capacity as a Garden City Police Officer;       )
AND JOHN and JANE DOES, I through X             )
inclusive, individually and in their capacities )
as officials, employees and/or agents of        )
Garden City, Idaho, and acting outside their    )
constitutional authority,                       )
                                                )
                        Defendants.             )
                                                )

       Before the Court is Defendants’ Motion for Entry of Judgment. (Dkt. No. 38). On

August 1, 2007, an Order was entered granting attorneys’ fees in the amount of $221.50 to

Defendants for time spent preparing and filing a motion to compel discovery and on May 14,

2008, an Order was entered granting attorneys’ fees in the amount of $5,063.00 to Defendants

pursuant to 42 U.S.C. § 1988.

       THEREFORE IT IS HEREBY ORDERED that the Motion (Dkt. No. 38) is GRANTED

and JUDGMENT is entered in favor of Defendants for the amount of $5,284.50.

                                                    DATED: July 24, 2009




                                                    Honorable Edward J. Lodge
                                                    U. S. District Judge




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